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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 ASTRAZENECA PHARMACEUTICALS LP,

                Plaintiff,

 v.
                                                        CASE NO.: 1:21-CV-00027-LPS
 XAVIER BECCERA, et al.,

                Defendants.


                DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
       Defendants respectfully move for summary judgment on Plaintiff’s Second Amended

Complaint pursuant to Federal Rule of Civil Procedure 56. The grounds for this Motion are set forth

in the accompanying Brief in Support of Defendants’ Motion for Summary Judgment.




Dated: July 23, 2021                                Respectfully submitted,

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                                                    Deputy Assistant Attorney General

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                                                    Assistant Branch Director

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